                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________
BONITA HEADLAM-CLARKSON,                :
individually on behalf of herself       :
and all others similarly                :   CIVIL NO.: 20-cv-04068
situated,                               :
                                        :
                        Plaintiff,      :
                                        :
                                        :
v.                                      :
                                        :
                                        :
                                        :
CIGNA CORPORATION,                      :
LIFE INSURANCE COMPANY                  :
OF NORTH AMERICA, CIGNA LIFE            :
INSURANCE COMPANY OF NEW                :
YORK, AND CONNECTICUT LIFE              :
INSURANCE COMPANY,                      :
                        Defendants.     :
____________________________________:_________________________________________

                            MOTION FOR THE ADMISSION
                         PRO HAC VICE OF RAINA C. BORRELLI

       I, Patrick Howard, Esquire, in accordance with Local Rule of Civil Procedure 83.5.2(b),

hereby move the Court to admit Raina C. Borrelli, Esquire pro hac vice on behalf of Plaintiff in

the above-captioned matter.

       In support of this Motion, I state the following:

       1.      I am, and since the date of my admission in 2002, have remained a member in

good standing of the Bar of the Commonwealth of Pennsylvania.

       2.      Saltz, Mongeluzzi & Bendesky, P.C. has been retained to represent Plaintiff,

Bonita Headlam-Clarkson in this proceeding.

       3.      Haven spoken with my client on this matter, I represent to the Court that my client

wishes for Raina C. Borrelli to participate as counsel in this proceeding.
       4.      Counsel for Defendant has no objection to this Motion.

       5.      Ms. Borrelli’s Verification and Affidavit in Support thereof are attached hereto.

       WHEREFORE, it is respectfully requested that the motion to admit Raina C. Borrelli,

Esq. pro hac vice, to represent Plaintiff in the above-captioned matter is granted.


Dated: October 8, 2020                        /s/ Patrick Howard
                                              Patrick Howard, Esq.
                                              SALTZ, MONGELUZZI & BENDESKY, P.C.
                                              1650 Market Street, 52nd Floor
                                              Philadelphia, PA 19103
                                              Phone: (215) 575-3895
                                              Fax: (215) 496-0999
                                              phoward@smbb.com




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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________
BONITA HEADLAM-CLARKSON,                :
individually on behalf of herself       :
and all others similarly                :   CIVIL NO.: 20-cv-04068
situated,                               :
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                        Plaintiff,      :
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v.                                      :
                                        :
                                        :
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CIGNA CORPORATION,                      :
LIFE INSURANCE COMPANY                  :
OF NORTH AMERICA, CIGNA LIFE            :
INSURANCE COMPANY OF NEW                :
YORK, AND CONNECTICUT LIFE              :
INSURANCE COMPANY,                      :
                        Defendants.     :
____________________________________:_________________________________________

                         VERIFICATION OF RAINA C. BORRELLI

       I, Raina C. Borrelli submit this verification in support of my Application for Pro Hac

Vice Admission in the above-captioned matter:

       1.      I am a partner at the law firm of Gustafson Gluek PLLC, with a principal business

address of 120 South Sixth Street, Suite 2600, Minneapolis, Minnesota 55402. My business

telephone is (612) 333-8844.

       2.      I am a member in good standing of the bar of the State of Minnesota since 2011;

Bar No. 392127.

       3.      There are no disciplinary proceedings pending against me by the bar of any

jurisdiction in which I am licensed to practice, nor have any such proceedings ever been

instituted against me.
       4.      I have read the most recent edition of the Pennsylvania Rules of Professional

Conduct and the Local Rules of this Court and agree to be bound by both sets of Rules for the

duration of the case.

       5.      If granted pro hac vice admission, I will in good faith continue to advise Patrick

Howard of the current status of the case and all material developments therein.

       6.      I make this verification upon person knowledge. I affirm that the foregoing

statements made by me are true to the best of my knowledge, information and belief. I am aware

that if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




Dated: October 8, 2020
                                                     Raina C. Borrelli




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                                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                 Civil Action No# 20-04068

                        APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                  PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

         I, Raina C. Borrelli                                     the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number credit card   , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:
                     Minnesota                      10/28/2011                      392127
                   (State where admitted)            (Admission date)               (Attorney Identification Number)


                     (State where admitted)           (Admission date)              (Attorney Identification Number)


                     (State where admitted)           (Admission date)              (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:

                     D. Minnesota                   11/8/2011
                   (Court where admitted)            (Admission date)               (Attorney Identification Number)
                     D. Colorado                    2/20/2020
                     (Court where admitted)           (Admission date)              (Attorney Identification Number)


                     (Court where admitted)           (Admission date)              (Attorney Identification Number)

C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, andd that I will support and defend
                                                                                   defe
                                                                                     f    the Constitution of the United States.

        I am entering my appearance for              ___________________________________________
                                                     (Applicant’s Signature)
                                                      10/01/2020
                                                     ___________________________________________
                                                     (Date)

           EĂŵĞŽĨƉƉůŝĐĂŶƚΖƐ&ŝƌŵ    Gustafson Gluek PLLC
           ĚĚƌĞƐƐ                     120 South Sixth Street, Suite 2600, Minneapolis, MN 55402
           dĞůĞƉŚŽŶĞEƵŵďĞƌ            (612) 333-8844
           ŵĂŝůĚĚƌĞƐƐ               Rborrelli@gustafsongluek.com

       I declare under penalty of perjury that the foregoing is true and correct.


                   10/01/2020
       Executed on __________________________                                     ______________________________________
                            (Date)                                                        (Applicant’s Signature)

                                                                                                                             04/20
                                CERTIFICATE OF SERVICE

       I declare under penalty of perjury that on October 8, 2020 the Motion for Pro Hac Vice

Admission of Raina C. Borrelli, Esq., along with Verification and Application thereto, to practice

in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order, which if granted, would permit such practice in this Court was filed electronically with

the Court and as such sent to all counsel of record via ECF notification.


                                                     /s/ Patrick Howard
                                                     Patrick Howard, Esq.
